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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


Infrastructure Services Luxembourg S.A.R.L.
and Energia Termosolar B.V.,

                      Petitioners,
                                                   Civil Action No. 1:18-cv-01753-EGS
       v.

Kingdom of Spain,

                      Respondent.


                                      Joint Status Report

       Pursuant to the Court’s March 1, 2021 Minute Order, Petitioners Infrastructure Services

Luxembourg S.A.R.L. and Energia Termosolar B.V. and Respondent the Kingdom of Spain (the

“Parties”) notify the Court of the following developments.

       As previously indicated, the Parties completed briefing on Spain’s application to annul the

ICSID award on September 9, 2020. The Parties continue to await a decision on Spain’s

application for annulment. There have been no developments since the Parties’ last status update.
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Dated: June 1, 2021                          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2021, I caused a true and correct copy of the foregoing Joint

Status Report to be filed with the Clerk for the U.S. District Court for the District of Columbia

through the ECF system. Participants in the case who are registered ECF users will be served

through the ECF system, as identified by the Notice of Electronic Filing.

                                                      /s/ Matthew McGill
                                                      Matthew McGill
